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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                       NO. 4:01CR00190-003 SWW

KENDALL RENA JETTON STIGALL



                                  ORDER

      The above entitled cause came on for hearing on the government’s

motion to revoke the probation previously granted this defendant in the

United States District Court for the Eastern District of Arkansas.     Upon

the basis of statements on the record, the Court found that defendant has

been in violation of her conditions of probation.    However, defendant’s

probation will not be revoked at this time, but the matter will be

continued for a period of thirty (30) days, and defendant’s conditions

of probation will be modified.

      IT IS THEREFORE ORDERED that the hearing on the government’s motion

to revoke defendant’s probation hereby is continued for a period of

THIRTY (30) DAYS to give defendant an opportunity to abide by her

conditions of probation.

      IT IS FURTHER ORDERED that defendant’s probation shall be modified

to include the following special conditions:

      1.   Defendant shall report to the Probation Officer as
           directed.

      2.   Defendant shall report for drug testing as directed
           and shall submit to frequent drug testing.

      3.   Defendant shall participate in Narcotics Anonymous
           or Alcoholics Anonymous as directed by the
           Probation Office and shall submit documentation
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           that she is attending.

     4.    Defendant shall submit verification of her
           employment within ten (10) days to the Probation
           Officer. If defendant losses her job, she is to
           notify the Probation Officer so she can help her
           find a job.

     5.    Defendant shall make payments on restitution as
           previously directed.


     Defendant is reminded that all other conditions of her probation

previously imposed shall continue and remain in full force and effect.

     The hearing on the issue of the government’s motion to revoke

probation in this matter hereby is continued until 1:00 p.m. on Tuesday,

January 31, 2006, in Room #530, Richard Sheppard Arnold United States

Courthouse, Little Rock, Arkansas.

     IT IS SO ORDERED this 21ST day of December, 2005.



                                       /s/Susan Webber Wright
                                       UNITED STATES DISTRICT JUDGE
